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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

TAMEKA BATES,

                    Plaintiff,                     2:17-cv-12628

      v.                                           Paul D. Borman
                                                   United States District Judge

NAVIENT SOLUTIONS, LLC,
and UNITED STUDENT AID
FUNDS, INCORPORATED,

               Defendants.
_______________________________/

                            STIPULATION TO DISMISS

      By agreement, Plaintiff and Defendants, by and through their respective

attorneys, state as follows:

      1.     Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

             Procedure, the parties hereby stipulate and agree that the above-

             captioned action should be dismissed with prejudice.

      2.     Plaintiff and Defendants, by agreement, respectfully request that this

             case be dismissed with prejudice.



Date: July 25, 2019



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For Plaintiff,                       For Defendants,
Tameka Bates                         Navient Solutions, Inc. &
                                     United Student Aid Funds, Inc.

  s/ David M. Marco                    s/ Irina N. Kashcheyeva
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

TAMEKA BATES,

                   Plaintiff,                        2:17-cv-12628

      v.                                             Paul D. Borman
                                                     United States District Judge

NAVIENT SOLUTIONS, LLC,
and UNITED STUDENT AID
FUNDS, INCORPORATED,

               Defendants.
_______________________________/

                                ORDER OF DISMISSAL

      At the request of Plaintiff and Defendants, a stipulation having been duly filed,

this matter is hereby dismissed with prejudice.



Dated: July 25, 2019                          s/Paul D. Borman
                                              Paul D. Borman
                                              United States District Judge




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